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                       8                                  UNITED STATES DISTRICT COURT
                       9                                CENTRAL DISTRICT OF CALIFORNIA
                    10

                    11                CHIQUITA BATTLE, an individual,             CASE NO.: 2:21-CV-00196-MCS
                    12                                  Plaintiff,
                    13                              v.                           STIPULATION OF VOLUNTARY
                                                                                 DISMISSAL
                    14               REGENLAB USA LLC, a Delaware
                                     limited liability company, ANTOINE          Complaint Filed: November 18, 2020
                    15
                                     TURZI, an individual, and DOES 1 to
                    16               20, inclusive
                                                          Defendants.
                    17

                    18
                                                           STIPULATION OF THE PARTIES
                    19
                                           Pursuant to Federal Rule of Civil Procedure Rule 41, Plaintiff Chiquita Battle
                    20
                                 ("Battle" or "Plaintiff') and Defendants RegenLab USA LLC and Antoine Turzi
                   21
                                 (collectively "Defendants"), by and through their respective counsel, hereby stipulate
                    22
                                 that this action is dismissed with prejudice, with parties to bear their own costs and fees.
                   23

                   24            Dated: March R; 2022                            SHERMAN LAW GROUP

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                   26                                                            By: Xed 6 er-A9'
                                                                                      RICHARD LLOYD SHERMAN, ESQ.
                   27                                                             Attorneys for Plaintiff CHIQUITA BATTLE

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                                                  8 , 2022
                                     Dated: March §                           EPSTEIN BECKER        GREEN
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                                                                                      AM RAMSEY, ESQ.
                        4                                                   Attorneys for Defendants RegenLab USA
                                                                                    and Antoine Turzi
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